 Information to identify the case:
 Debtor 1              Eduardo David Perez                                   Social Security number or ITIN   xxx−xx−6434
                       First Name   Middle Name   Last Name                  EIN   _ _−_ _ _ _ _ _ _
 Debtor 2                                                                    Social Security number or ITIN _ _ _ _
                       First Name   Middle Name   Last Name
 (Spouse, if filing)
                                                                             EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court Eastern District of New York

 Case number: 1−17−45869−cec




                                                              FINAL DECREE


The estate of the above named debtor(s) has been fully administered.




IT IS ORDERED THAT:



         • Richard J. McCord (Trustee) is discharged as trustee of the estate of the above−named debtor(s).

         • The Chapter 7 case of the above−named debtor(s) is closed.


                                                                             s/ Carla E. Craig
                                                                             United States Bankruptcy Judge

 Dated: March 28, 2019




BLfnld7 [Final Decree 7 rev 12/01/15]
